Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 1 of 11 Page ID #:112



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         MICHAEL SPOTTS
     8
     9                        UNITED SATES DISTRICT COURT
    10                     CENTRAL DISTRICT OF CALIFORNIA
    11 MICHAEL SPOTTS,                     )       Case No.   5:20-cv-01467 JBG (KKxa)
    12                                     )
                   Plaintiff,              )       Assigned to: Hon. Jesus G. Bernal
    13                                     )       Courtroom: 1
             v.                            )
    14                                     )       Action filed: June 5, 2020
         AMAZON.COM SERVICES, INC. )
    15   and DOES 1 through 50, inclusive, )       FIRST AMENDED COMPLAINT
                                           )       FOR DAMAGES
    16                  Defendants.        )
                                           )       1.    Discrimination
    17                                     )       2.    Failure to Prevent
                                           )             Discrimination
    18                                     )       3.    California Family Rights Act
                                           )       4.    Failure to Accommodate
    19                                     )       5.    Wrongful Termination
                                           )
    20   _____________________________ )

    21
    22        Plaintiff alleges:
    23        1.    At all times mentioned in this complaint, Defendant AMAZON.COM
    24 SERVICES, INC. was a corporation, duly licensed, and conducting business in the
    25 County of Riverside, State of California.
    26        2.   At all times mentioned in this complaint, Plaintiff MICHAEL SPOTTS
    27 was a resident of California. During the relevant time period, Plaintiff was employed
    28 by and then terminated by Defendants.
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                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 2 of 11 Page ID #:113



     1        3.    Plaintiff does not know the true names of Defendants DOES 1 through
     2 50, inclusive, and therefore sue them by those fictitious names.
     3        4.    Plaintiff is informed and believes, and on the basis of that information
     4 and belief alleges, that at all times mentioned in this complaint, DOE defendants
     5 were the agents and employees of their co-defendants or otherwise responsible for
     6 the conduct complained of herein, and in doing the things alleged in this complaint
     7 were acting within the course and scope of that agency and employment or were
     8 otherwise responsible for the damages complained of by the Plaintiff.
     9                           FACTUAL ALLEGATIONS
    10        5.    On April 3, 2018, Michael Spotts was hired as a full-time (40 hours
    11 p/week) Fulfillment Associate by Defendant Amazon.com Services, Inc. making $15
    12 per hour.
    13        6.    Mr. Spotts suffered from a disability, namely drug addiction and related
    14 anxiety and panic attacks, which limited his major life activities including but not
    15 limited to difficulty sleeping, concentrating and working.
    16        7.    In April of 2019, Mr. Spotts called Human Resources and requested a
    17 medical leave. He explained that he suffered from a “substance abuse” problem and
    18 requested a medical leave because he needed to be admitted at an in-patient
    19 treatment facility. Mr. Spotts was then transferred to Amazon’s medical leave
    20 personnel for approval of his medical leave. Mr. Spotts again stated that he needed
    21 a medical leave and that his medical provider had told him that his treatment would
    22 take less than 60 days. Mr. Spotts was approved to take a medical leave starting
    23 April 8, 2019.
    24        8.    Jill from Human Resources e-mailed Mr. Spotts the documentation and
    25 Mr. Spotts had his doctor complete and return it to his employer. The documentation
    26 specifically outlined Mr. Spotts’ diagnosis and stated that Mr. Spotts’ treatment
    27 would last until May 22, 2019. Mr. Spotts observed his doctor’s nurse send the
    28 paperwork to Amazon.
                                              2
                             FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 3 of 11 Page ID #:114



     1        9.      On May 15, 2019, Mr. Spotts received an e-mail from his employer
     2 stating that he had “resigned” from his employment.
     3        10.     Mr. Spotts successfully completed his rehabilitation treatment and
     4 maintained sobriety. After his release from the rehabilitation, Mr. Spotts was ready
     5 and able to return to work without any accommodations. Mr. Spotts contacted his
     6 employer to dispute the termination but he was told that it was too late to dispute the
     7 termination.
     8        11.     The Plaintiff filed administrative complaints with the Department of
     9 Fair Employment and Housing within the statutory time period and received Notices
    10 of Case Closure (Right-to-Sue Letters) for each defendant named herein.
    11                            FIRST CAUSE OF ACTION
    12                     (Discrimination-Gov't Code section 12940(a))
    13                         (By Plaintiff Against All Defendants)
    14        12.     Plaintiff hereby incorporates paragraphs 1 through 8, inclusive, as
    15 though fully set forth at this point.
    16        13.     This action is brought pursuant to the California Fair Employment and
    17 Housing Act, section 12940(a) of the Government Code, which prohibits an
    18 employer from discharging, expelling or otherwise discriminating against any person
    19 because of the person’s disability.
    20        14.     At all times mentioned in this complaint, Defendants regularly
    21 employed at least five employees bringing the Defendant employer within the
    22 provisions of section 12940 et seq. of the Government Code.
    23        15.     Mr. Spotts maintains that he was subjected to illegal discrimination
    24 when he disclosed his disability (drug addition) and requested a reasonable
    25 accommodation and approved medical leave.
    26        16.     The acts of illegal discrimination were motivated by Mr. Spotts’
    27 disability, his need for a medical leave, and reasonable accommodation. But for Mr.
    28 Spotts having a drug addiction, requesting to participate in a drug rehabilitation
                                               3
                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 4 of 11 Page ID #:115



     1 program under Labor Code Section 1025 (reasonable accommodation of employee
     2 entering a rehabilitation program), and putting in practice such accommodation after
     3 the employer’s approval, he would have not have suffered the illegal discrimination
     4 (termination from his employment).
     5        17.    As a direct and proximate result of Defendants' unlawful conduct as
     6 alleged in this complaint, Plaintiff     has suffered extreme and severe anguish,
     7 humiliation, anger, tension, anxiety, depression, lowered self-esteem, and emotional
     8 distress.
     9        18.    As a further direct and proximate result of the unlawful conduct, the
    10 Plaintiff has suffered and continues to suffer loss of income, loss of earning capacity,
    11 loss of job opportunity and other losses.
    12        19.    Because Plaintiff was discriminated against in violation of the law,
    13 plaintiff is entitled to recover attorneys' fees and costs in this action pursuant to
    14 California Government Code section 12965(b).
    15        20.    Because the acts taken toward Plaintiff were carried out by Defendants
    16 acting in a deliberate, cold, callous, malicious, oppressive, and intentional manner
    17 in order to injure and damage plaintiff, Plaintiff requests the assessment of punitive
    18 damages against Defendants in an amount appropriate to punish and make an
    19 example of Defendants.
    20                           SECOND CAUSE OF ACTION
    21              (Failure to Prevent Discrimination - Gov’t Code § 12940(k))
    22                         (By Plaintiff Against All Defendants)
    23        21.    Plaintiff hereby incorporates paragraphs 1 through 16, inclusive, as
    24 though fully set forth at this point.
    25        22.    This action is brought pursuant to the California Fair Employment and
    26 Practices Act, section 12940(k) of the Government Code, which prohibits an
    27 employer from failing to take all reasonable steps necessary to prevent
    28 discrimination, harassment and retaliation and the corresponding regulations of the
                                               4
                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 5 of 11 Page ID #:116



     1 California Fair Employment and Housing Commission.
     2        23.   At all times mentioned in this complaint, Defendants regularly
     3 employed at least five employees bringing Defendant employer within the provisions
     4 of section 12900 et seq. of the Government Code prohibiting employers or their
     5 agents from failing to take all reasonable steps necessary to prevent discrimination,
     6 harassment and retaliation.
     7        24.   Defendants failed to take all reasonable steps necessary to prevent
     8 discrimination and harassment in that the employer failed to comply with
     9 Department of Fair Employment and Housing laws and regulations, failed to offer
    10 discrimination and harassment training, failed to maintain an effective complaint
    11 procedure, failed to adequately educate managers about discrimination and
    12 harassment and failed to educate managers regarding proper responses to complaints.
    13 Defendants also failed to take all reasonable steps to prevent harassment and
    14 discrimination by not taking adequate remedial action after becoming aware of
    15 ongoing discrimination and harassment.
    16        25.   As a direct and proximate result of Defendants’ unlawful conduct as
    17 alleged in this complaint, Plaintiff    has suffered extreme and severe anguish,
    18 humiliation, anger, tension, anxiety, depression, lowered self-esteem, sleeplessness
    19 and emotional distress.
    20        26.   As a further direct and proximate result of the unlawful conduct,
    21 Plaintiff has suffered and continues     to suffer loss of income, loss of earning
    22 capacity, loss of job opportunity and other losses.
    23        27.   Because the Defendants failed to prevent discrimination and harassment
    24 in violation of the Fair Employment and Housing Act, Plaintiff is entitled to recover
    25 attorneys' fees and costs in this action pursuant to California Government Code
    26 section 12965(b).
    27        28.   Because the acts taken toward Plaintiff were carried out by Defendants
    28 acting in a deliberate, cold, callous, malicious, oppressive, and intentional manner
                                              5
                             FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 6 of 11 Page ID #:117



     1 in order to injure and damage plaintiff, Plaintiff requests the assessment of punitive
     2 damages against Defendants in an amount appropriate to punish and make an
     3 example of Defendants.
     4                            THIRD CAUSE OF ACTION
     5         (Violation of California Family Rights Act - Gov’t Code §12945.2)
     6                         (By Plaintiff against All Defendants)
     7        29.    Plaintiff hereby incorporates paragraphs 1 through 24, inclusive, as
     8 though fully set forth at this point.
     9        30.    This action is brought pursuant to the California Fair Employment and
    10 Practices Act, section 12945.2 of the Government Code and/or the corresponding
    11 regulations of the California Fair Employment and Housing Commission, which
    12 makes it an unlawful employment practice for an employer to refuse to grant a
    13 request by any employee with more than 12 months of service with the employer and
    14 who has at least 1,250 hours of service with the employer during the previous 12-
    15 month period, to take up to a total of 12 workweeks in any 12-month period for
    16 family care and medical leave. This section is deemed violated when an employer
    17 fails to return an employee to the same or comparable position at the end of the leave
    18 or if the employer discriminates against the employee for taking or asking for leave.
    19        31.    At all times mentioned in this complaint, plaintiff was an employee of
    20 defendant employers within the meaning of Government Code sections 12926,
    21 12940 and 12945.2.
    22        32.    At all times relevant herein, Defendants were and are an “employer”
    23 under FEHA, regularly employing five or more employees, respectively, within the
    24 meaning of Government Code sections 12926 and 12940.
    25        33.    At all times relevant herein, Defendants, respectively, employed fifty
    26 (50) or more employees within a seventy-five (75) mile radius of the facility where
    27 plaintiff was employed.
    28        34.    Plaintiff was employed by defendants for at least twelve (12) total
                                               6
                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 7 of 11 Page ID #:118



     1 months prior to plaintiff’s request for leave as alleged more fully herein.
     2        35.    Plaintiff gave defendants at least one thousand two hundred fifty (1,250)
     3 hours of service during the twelve (12) month period immediately preceding the
     4 request for or commencement of plaintiff’s leave.
     5        36.    As is more fully set forth herein, plaintiff took leave for treatment for
     6 drug addiction. Defendants unlawfully discriminated and/or retaliated against
     7 plaintiff by terminating him from his employment while on an approved leave.
     8        37.    As a direct and proximate result of defendants’ unlawful conduct as
     9 alleged in this complaint, plaintiff has suffered extreme and severe anguish,
    10 humiliation, nervousness, anger, tension, anxiety and emotional distress.
    11        38.    As a further direct and proximate result of the unlawful conduct,
    12 plaintiff has suffered and continues to suffer loss of income, loss of earning capacity,
    13 loss of job opportunity and other losses.
    14        39.    Because plaintiff was discriminated against and retaliated in violation
    15 of the Fair Employment and Housing Act, plaintiff is entitled to recover attorneys'
    16 fees and costs in this action pursuant to California Government Code section
    17 12965(b).
    18        40.    Because the acts taken toward plaintiff were carried out by defendants
    19 acting in a deliberate, cold, callous, malicious, oppressive, and intentional manner
    20 in order to injure and damage plaintiff, plaintiff requests the assessment of punitive
    21 damages against defendants in an amount appropriate to punish and make an
    22 example of defendants.
    23                           FOURTH CAUSE OF ACTION
    24       (Failure to Accommodate - Gov’t Code §12926.1, 12940(a)(m) and (n) )
    25                         (By Plaintiff against All Defendants)
    26        41.    Plaintiff hereby incorporates paragraphs 1 through 36, inclusive, as
    27 though fully set forth at this point.
    28        42.    This action is brought pursuant to the California Fair Employment and
                                               7
                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 8 of 11 Page ID #:119



     1 Practices Act, section 12940 and 12926.1 of the Government Code and/or the
     2 corresponding regulations of the California Fair Employment and Housing
     3 Commission, which makes it an unlawful employment practice for an employer to
     4 discriminate against a person with a disability, fail to make reasonable
     5 accommodation to a person with a disability, or fail to engage in a timely, good faith,
     6 interactive process with an employee to determine effective reasonable
     7 accommodations and Labor Code Section 1025 (reasonable accommodation of
     8 employee entering a rehabilitation program).
     9        43.    As is more fully set forth herein, plaintiff had an addiction disability in
    10 that he suffered from a drug addition.
    11        44.    Plaintiff was able to perform the job with reasonable accommodation
    12 (in-patient treatment at a drug rehabilitation facility). Mr. Spotts successfully
    13 completed his rehabilitation treatment and was ready and able to return to work.
    14 Defendant employer should have reasonably accommodated Mr. Spotts by allowing
    15 him to finish his drug rehabilitation treatment. Also, Defendant employer should
    16 have not terminated Mr. Spotts after he disclosed his need to participate in a in-
    17 patient drug rehabilitation program. Moreover, Defendant employer should have not
    18 terminated Mr. Spotts after it authorized his leave for a drug rehabilitation program.
    19        45.    The company failed to comply with the above sited code sections and
    20 regulations when it failed to engage in a timely, good faith, interactive process to
    21 determine an effective accommodation and when it terminated him.
    22        46.    As a direct and proximate result of defendant’s unlawful conduct as
    23 alleged in this complaint, plaintiff has suffered extreme and severe anguish,
    24 humiliation, nervousness, anger, tension, anxiety and emotional distress.
    25        47.    As a further direct and proximate result of the unlawful conduct,
    26 plaintiff has suffered and continues to suffer loss of income, loss of earning capacity,
    27 loss of job opportunity and other losses.
    28        48.    Because plaintiff was discriminated against in violation of the Fair
                                               8
                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 9 of 11 Page ID #:120



     1 Employment and Housing Act, plaintiff is entitled to recover attorney’s fees and
     2 costs in this action pursuant to California Government Code section 12965(b).
     3        49.    Because the acts taken toward plaintiff were carried out by defendants
     4 acting in a deliberate, cold, callous, malicious, oppressive, and intentional manner
     5 in order to injure and damage him, plaintiff requests the assessment of punitive
     6 damages against defendants in an amount appropriate to punish and make an
     7 example of defendants.
     8                            FIFTH CAUSE OF ACTION
     9                                (Wrongful Termination)
    10                         (By Plaintiff Against All Defendants)
    11        50.    Plaintiff hereby incorporates by reference paragraphs 1 through 45,
    12 inclusive, as though fully set forth at this point.
    13        51.    Plaintiff alleges that the discharge was wrongful because it was in
    14 violation of the public policy of the State of California as set forth in California
    15 Government Code section 12940 et seq., the administrative regulations of the Fair
    16 Employment and Housing Act and Article 1, section 8 of the Constitution of the
    17 State of California, as set forth more fully herein.
    18        52.    As a direct and proximate result of Defendants’ unlawful conduct as
    19 alleged in this complaint, Plaintiff has suffered extreme and severe anguish,
    20 humiliation, anger, tension, anxiety, depression, lowered self-esteem, sleeplessness
    21 and emotional distress.
    22        53.    As a further direct and proximate result of the unlawful conduct,
    23 Plaintiff has suffered and continues      to suffer loss of income, loss of earning
    24 capacity, loss of job opportunity and other losses.
    25        54.    Because the acts taken toward Plaintiff were carried out by Defendants
    26 acting in a deliberate, cold, callous, malicious, oppressive, and intentional manner
    27 in order to injure and damage plaintiff, Plaintiff requests the assessment of punitive
    28 damages against Defendants in an amount appropriate to punish and make an
                                               9
                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 10 of 11 Page ID #:121



     1 example of Defendants.
     2       WHEREFORE, Plaintiff demands judgment against Defendants as
     3 follows:
     4 As to the First, Second, Third and Fourth Causes of Action:
     5       1.    For general and compensatory damages;
     6       2.    For special damages according to proof;
     7       3.    For punitive damages;
     8       4.    For prejudgment interest on all amounts claimed that are readily
     9             ascertainable;
    10       5.    For costs and attorneys’ fees pursuant to Government Code section
    11             12965(b); and
    12       6.    For such other and further relief that the court considers proper.
    13 As to the Fifth Cause of Action:
    14       1.    For general and compensatory damages;
    15       2.    For special damages according to proof;
    16       3.    For punitive damages;
    17       4.    For prejudgment interest on all amounts claimed that are readily
    18             ascertainable;
    19       5.    For costs; and
    20       6.    For such other and further relief that the court considers proper.
    21
    22                                              STEVENS & McMILLAN
    23
    24 Dated: August 19, 2020                By:    /s/ Daniel P. Stevens__
                                                    DANIEL P. STEVENS
    25                                              Attorney for Plaintiff
                                                    MICHAEL SPOTTS
    26
    27
    28
                                             10
                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:20-cv-01467-JGB-KK Document 16 Filed 08/20/20 Page 11 of 11 Page ID #:122



     1                           CERTIFICATE OF SERVICE
     2                     Michael Spotts v. Amazon.com Services, Inc.
     3                               5:20-cv-01467-JGB-KKxa
     4
               I am over the age of 18 and not a party to the within action. I am employed
     5 in the County of Orange, State of California; my business address is 335
         Centennial Way, Tustin, California 92780.
     6
               On the date set forth below, I caused to be electronically filed the following
     7 document(s) described as:
     8               FIRST AMENDED COMPLAINT FOR DAMAGES
     9 [X]     BY CM/ECF SYSTEM: I caused the above-referenced document(s) to be
               sent by electronic transmittal to the Clerk’s Office using the CM/ECF
    10         System for filing which generated a Notice of Electronic Filing to the
               CM/ECF registrants in this case listed below:
    11
               Maggy Athanasious
    12         James A. Becerra
               LITTLER MENDELSON, P.C.
    13         2049 Century Park East
               5th Floor
    14         Los Angeles, CA 90067-3107
               mathanasious@littler.com
    15         jbecerra@littler.com
    16         Attorneys for Defendant
    17
    18 [X]     [Federal]    I declare under penalty of perjury under the laws of the United
                            States of America that the foregoing is true and correct.
    19
               Executed on August 20, 2020, Tustin, California.
    20
    21                                                    /s/ Donald E. Corbett
                                                             Donald E. Corbett
    22
    23
    24
    25
    26
    27
    28
                                               11
                              FIRST AMENDED COMPLAINT FOR DAMAGES
